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From:info@mgtinvestigative.com<info@mgtinvestigative.com>
Sent:Thursday,April27,20238:08PM
To:Gosewehr,Katie<kgosewehr@omm.com>;Patton,MadeleineT.<mpatton@omm.com>
Subject:Swaminathan


[EXTERNALMESSAGE]

Hi,

I attempted to serve Swaminathan at the 340 S. Lemon Ave, Walnut location. When I knocked on both the
front door and the rear door, there was no answer. The same FEDEX notice I saw the last time I was there was
still on the window, but the SoCal Edison notice was no longer affixed to the door. It could have fallen off and
is wedged between the screen door and inner door where I was not able to see it.

I spoke with business owner of 338 S. Lemon which is located next door. Although the person could not speak
English, or was not comfortable speaking English, when I pointed next door to 340 and asked if the business
was still there, he took out a translator and typed “No one there. Long time.”

I then spoke with the business owner and an employee next door at 336 S. Lemon Ave. Both stated they
believed 304 S. Lemon Avenue was a “ghost business”. I asked for clarification, and they said they thought the
location was used as a mail drop for several other businesses and that they have not seen the owner for a few
months. I asked them to describe the person they saw operating out of 340 and if they thought he was Indian.
Both told me the person was a male Chinese. The owner of the business verified to me his address was 336 S.
Lemon Avenue.

Lastly, I walked across the parking lot to speak with employees at 334 S. Lemon Avenue. Three of the
employees said the business located at 340 S. Lemon had been closed for several months and they did not
remember seeing an Indian male at the location.

Directly across the street from the complex housing 340 S. Lemon Avenue sits a United States Post Office. It
has an address of 280 S. Lemon Avenue. This is probably the P.O. Box the process server was referring to.

Would you like for me to continue to attempt service at 340 S. Lemon Ave? It appears Swaminathan probably
used this address to throw off anyone attempting to locate him as he did with the two addresses at Harvey Mudd
College.

Please let me know so I can return early tomorrow.

Best regards,

Michael
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MichaelTyus
M.G.T.InvestigativeServices,LLC
15218SummitAve#300Ͳ133
Fontana,CA92336
(909)320Ͳ8324office
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